Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA
v. Case No. 20-mj-67
ANTHONY R. KROHN,

Defendant.

 

COMPLAINT FOR VIOLATION OF
TITLE 18, UNITED STATES CODE, SECTION 922(g)(1)

 

BEFORE United States Magistrate Judge United States District Court
Stephen L. Crocker 120 North Henry Street
Madison, Wisconsin 53703
The undersigned complainant being duly sworn states:
COUNT 1
On or about June 1, 2020, in the Western District of Wisconsin, the defendant,
ANTHONY R. KROHN,

knowing he had previously been convicted of an offense punishable by a term of
imprisonment exceeding one year, knowingly and unlawfully possessed in or affecting
commerce a Stoeger Luger .22 caliber handgun, said firearm having previously traveled

in and affected interstate commerce.

(In violation of Title 18, United States Code, Section 922(¢)(1)).

 

 
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 2 of 7

This complaint is based on the attached affidavit of Agent Jeffrey Eleveld.

(Sf

 

Special Agent Jeffrey Eleveld
Bureau of Alcohol, Tobacco, Firearms and
Explosives

rm
Sworn to telephonically this ( day of June 2020

Se

 

HONORABLE STEPHEN L. CROCKER
United States Magistrate Judge
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 3 of 7

COUNTY OF DANE
ss

STATE OF WISCONSIN
AFFIDAVIT.

I, Special Agent Jeffrey Eleveld, first being duly sworn under oath, hereby
depose and state as follows:

1, Iam a Special Agent of the United States Justice Department, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF), and have been since 2000.

2. My duties and responsibilities with ATF include participating in the
investigation and prosecution of persons who violate federal firearms laws. As a result
of my training and experience, I am familiar with federal firearms laws and I know that
in accordance with Title 18, United States Code, Section 922(g){1), it is unlawful for any
person who has been convicted of an offense punishable by a term of imprisonment
exceeding one year to ship or transport in interstate commerce, or possess in or
affecting commerce, any firearm or ammunition, or to receive any firearm or
ammunition which has been shipped or transported in interstate or foreign commerce.

3. Lam familiar with the facts and circumstances set forth herein as a result
of my personal knowledge of this investigation as well as my review of official reports
and records and conversations with other law enforcement officers as more fully
described below. I know the law enforcement officers to be reliable inasmuch as the
information they provide herein is the result of their official investigation into this
matter.

4. This affidavit is intended to show merely that there is sufficient probable
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 4 of 7

cause for the requested warrant and does not set forth all of my knowledge about this

matter. Based on the information described below, I believe that there is now probable

cause that Anthony R. Krohn has violated title 18, United States Code, Section 922(g)(1).
PROBABLE CAUSE

5, On June 1, 2020, at approximately 2:12 a.m., Madison Police were
dispatched to the area of S. Fairchild and West Doty Streets, in the City of Madison,
Western District of Wisconsin, in reference to a person with a gunshot wound. Law
enforcement was able to respond quickly given the significant civil unrest then
occurring in downtown Madison near the Wisconsin State Capitol and State Street. The
unrest began as peaceful protest but devolved into unlawful violence, vandalism, and
looting, The intersection of Fairchild Street and Doty Street is approximately one block
from the Capitol and four blocks from State Street where dozens of businesses were
damaged.

6. Upon arriving at that location, Officer Ryan Kimberley saw Dane County
Deputies with a person later verbally identified and confirmed by DOT records as
Anthony R. Krohn. Krohn was in the grass between the street and sidewalk. There was
a black handgun approximately a foot from Krohn. Krohn was bleeding heavily from
his upper right thigh and a tourniquet had been applied.

7. Officer Galen Wiering reports that Dane County Deputy Steven Colbrook
said that he asked Krohn if he shot himself and Krohn said that he had. Deputy
Colbrook also informed Officer Wiering that Krohn appeared quite intoxicated. Officer

Kimberley reports that when Krohn’s pants were cut away there was a circle wound on
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 5 of 7

his upper right thigh consistent with a gunshot wound. Officer Kimberley also noted
that Krohn’s speech was slurred.

8. Officer Amber Flores spoke with Antonio Fisher. Fisher said that he knew
Krohn for a long time and they were friends. Fisher said that on that evening he,
Krohn, Michael McGillivary, and an unidentified female (later identified as Ashley
Hanmer) were hanging out and heading toward the Capitol to meet a friend. Fisher,
McGillivary, and Hanmer were walking ahead of Krohn. At the point that they turned
a corner, they heard a gunshot and began running. As they ran around the block they
realized that Krohn was not with them and did not know that Krohn had been injured
until they saw the emergency lights. Fisher did not know that Krohn was carrying a
gun but thought that Krohn was the type of person who would be protective of Fisher.
Fisher said that there no one else was on the street or nearby during this incident.

9. Officer Flores also spoke with Ashley Hanmer. Hanmer explained that
she was hanging out with Krohn and two others that evening. She gota ride
downtown to meet up with them and they were walking eastbound on Doty Street.
toward the Capitol to check out the protest. Hanmer said that they heard one shot go
off and they ran down Fairchild Street. She said that she did not know Krohn was
carrying a weapon.

10. Officer Flores interviewed with Michael McGillivary. McGillivary initially
lied about his name to the officer. McGillivary explained that he was friends with Tony
Robinson and ever since Robinson was shot in an officer-involved shooting that he did

not like law enforcement. McGillivary said that he did not know Krohn and that Krohn
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 6 of 7

was a friend of Fisher. McGillivary said that he, Fisher, and Hanmer were walking
ahead of Krohn. He heard one gunshot, looked behind him, and then the group ran
north on Fairchild Street. The group ran through the Dane County parking ramp and
back around the block. He did not know that Krohn was injured until they saw
emergency lights at the scene. McGillivary was arrested for Obstructing an Officer and
ultimately written a municipal ticket for the violation.

11. Officer Kimberley reported that Krohn was transported to the hospital
and after a scan of his leg Doctor Solty told him that the bullet would not need to be
removed. Medical staff, specifically a staff member identified as S. Indra, said that the
bullet “went in at the top and tracked down his leg.” Officer Kimberley reports that
this track is, based on his training and experience, consistent with the handgun
discharging while Krohn was carrying it in his pocket or waist area.

12. Investigator Thomas Parr recovered evidence at the scene including a
spent .22 caliber casing and a loaded Stoeger Luger .22 caliber handgun. The handgun
had one live round in the chamber and nine rounds in the magazine.

13. Your affiant has had specialized nexus training in determining the where
firearms are manufactured. Based on Madison Police reports, your affiant knows that
the Stoeger Luger .22LR handgun is a firearm that was manufactured outside the State
of Wisconsin and has therefore travelled in interstate commerce.

14. Your affiant has reviewed the Wisconsin Circuit Court Access (WCCA)
program, which provides computerized records of cases in Wisconsin state courts.

Your affiant has used information from WCCA in past cases and knows that the
Case: 3:20-cr-00077-jdp Document #:1 Filed: 06/04/20 Page 7 of 7

information contained therein it is accurate and reliable.

15, WCCA records show that in Rock County case number 2016CF000939,
Krohn was convicted on February 24, 2017, of the felony crime of Operating a Motor
Vehicle While Intoxicated (6'* offense) contrary to Wisconsin State Statute section
346.63(1){a). On that same day he was sentenced to 5 years in prison consisting of a 2
year term of confinement and a3 year term of supervised release.

16, WCCA records also show that in Rock County case number 2009CF2612,
Krohn was convicted on December 18, 2009, of the felony crime of Possess With Intent
to Deliver Cocaine (>5-15g) contrary to Wisconsin State Statute section 961.41(1m)(cm).
On January 7, 2010, Krohn was placed on probation for 5 years and ordered to serve 1
year of conditional jail time. That term of probation was revoked and on April 29, 2011,
Krohn was sentenced to 6 years in prison consisting of a 3 year term of confinement and

a3 year term of supervised release,

/5f

Special Agent Jeffrey Eleveld
Bureau of Alcohol, Tobacco, Firearms
and Explosives

tH
secant ‘t  day of June 2020.
{ Z

Honorable Stephen L. Crocker
United States Magistrate Judge
